       Case 4:22-cv-00546-JSW             Document 42        Filed 12/09/24       Page 1 of 4




David Stebbins (pro se Plaintiff)      123 W. Ridge Ave., APT D, Harrison, AR 72601
(870) 212-4947                         acerthorn@yahoo.com

      UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                               PLAINTIFF

VS.                                    Case 3:22-cv-00546-JSW

EMILY REBÔLO, ET AL                                                           DEFENDANTS

                MOTION FOR ISSUANCE OF SUBPOENA DUCES TECUM
       Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Motion
for Issuance of Subpoena Duces Tecum in the above-styled action.
1.     There are three defendants who remain in the case: One corporate defendant YouTube
LLC, and two individual defendants. These two individual defendants are John Doe defendants
who go by the aliases of Creetosis and Bibi Faizi, respectively.
                  Creetosis's legal name and address is on file with YouTube.
2.
                  Hard Drive Prods., Inc. v. Does 1-90, No. C11-03825 HRL,
                       2012 WL 1094653, at *2 (N.D. Cal. Mar. 30, 2012)
3.     The Hard Drive case mentioned above is controlling in this motion, which lists four
factors that needed to be addressed before a subpoena could issue to identify a Doe defendant.
Those factors are “whether (1) the plaintiff can identify the missing party with sufficient
specificity such that the Court can determine that defendant is a real person or entity who could
be sued in federal court; (2) the plaintiff has identified all previous steps taken to locate the
elusive defendant; (3) the plaintiff’s suit against defendant could withstand a motion to dismiss;
and (4) the plaintiff has demonstrated that there is a reasonable likelihood of being able to
identify the defendant through discovery such that service of process would be possible.”
4.     I will address each of these factors in turn.
                    The individual defendants are real people who can be sued.
5.     Creetosis regularly provides his voice in his videos. Therefore, he is clearly a real person.

Case 3:22-cv-00546-JSW                            -1-                            Motion for Subpoena
        Case 4:22-cv-00546-JSW             Document 42       Filed 12/09/24         Page 2 of 4




Meanwhile, Bibi Faizi must be a real person. If he wasn't, then it was illegal for YouTube to
process the DMCA Takedowns issued by him, which in turn means YouTube can be held
vicariously liable for the damages caused by them.
6.      Therefore, this first factor is satisfied.
                        Previous steps taken to locate the individual defendants.
7.      For Creetosis, I tried and failed to get his information, both voluntarily and by getting
him to issue DMCA Counter-Notifications. See https://www.youtube.com/post/UgkxVClPa-
wd3PLseKexm_QkJHoG3JX6bXLa. That hasn't worked. He has refused to counter-notify. See
https://www.youtube.com/post/Ugkx1QGs3MFJNCPeGDnyrEOfKXIpnwVsdGy2 (“6) I'm not
counter-notifying because, quite simply, I'm not comfortable with [the plaintiff] having my
personal information”).
8.      I have no other way of obtaining Creetosis's name and address unless YouTube hands it
over.
9.      For Bibi Faizi, there are no other steps I even could take to locate him. The “Bibi Faizi”
alias does not appear to have any online presence except as the alias for it being the psuedonym
this person used to issue the fraudulent DMCA Takedowns. So there's nowhere else I even could
look, even if I wanted to.
10.     Therefore, this element is satisfied.
                            Likelihood of withstanding a motion to dismiss.
11.     This Court has already reviewed the Second Amended Complaint under an identical
standard to that of a motion to dismiss, and these claims were allowed to proceed. So this
element is satisfied.
      Reasonable likelihood of being able to identify the individual defendants via subpoenas.
12.     For the reasons set forth below, both remaining individual defendants are reasonably
likely to be identified if we subpoena their legal names and addresses from YouTube.
13.     Creetosis is a member of the YouTube Partner Program. This is evidenced by the fact
that, if you navigate to his YouTube channel, you can find the option to “join” his channel, like
so:


Case 3:22-cv-00546-JSW                               -2-                        Motion for Subpoena
       Case 4:22-cv-00546-JSW           Document 42         Filed 12/09/24       Page 3 of 4




14.    This means that people have the option to become “channel members,” aka people who
support his channel with monthly, automatically recurring monetary donations. To receive these
donations, Creetosis necessarily has to provide his legal name and address (among other things)
to YouTube for tax purposes, which in turn means that YouTube has this information on file.
15.    Bibi Faizi is being sued for DMCA misrepresentation under 17 USC § 512(f)(1). When
he issued these DMCA Takedowns, he had to provide his legal name and address to YouTube,
other-wise it would have been illegal for YouTube to process them, and so YouTube can instead
be held vicariously liable for the fruadulent takedowns in Bibi Faizi's place.
16.    This means that YouTube still has Bibi Faizi's legal name and address on file.
17.    Therefore, this fourth and final factor of the Hard Drive precedent is satisfied.
                                         Relief Requested
18.    For these reasons, I ask that the Court order the Clerk's Office to issue two subpoenas
duces tecum to identify the legal names and addresses of the two individual defendants.
19.    Please find attached Exhibit A and Exhibit B, which are two proposed subpoenas I have
drafted for the Court's convenience.
20.    I then ask the Court to order that the US Marshall execute service of these subpoenas on
respondent and co-defendant YouTube LLC, without prepayment of fees, and preferably
alongside the service of the summons and complaint in the instant case, pursuant to my rights
under Fed.R.Civ.P. 4(c)(3).

Case 3:22-cv-00546-JSW                          -3-                              Motion for Subpoena
      Case 4:22-cv-00546-JSW          Document 42       Filed 12/09/24     Page 4 of 4




                                         Conclusion
21.   Wherefore, premises considered, I respectfully pray that this Motion for Issuance of
Supboena Duces Tecum be granted.
      So requested on this, the 9th day of December, 2024.
                                                                             /s/ David Stebbins
                                                                                 David Stebbins




Case 3:22-cv-00546-JSW                       -4-                          Motion for Subpoena
